       Case 1:25-cv-00313-CKK      Document 8     Filed 02/05/25   Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 Alliance for Retired Americans, et
 al.,

           Plaintiffs,

             v.                            Civil Action No. 25-313 (CKK)

 Scott Bessent, in his official
 capacity as Secretary of the
 Treasury, et al.,

           Defendants.


   PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER

      Pursuant to Local Civil Rule 65.1(a), Plaintiffs Alliance for Retired Americans,

American Federation of Government Employees, AFL-CIO, and Service Employees

International Union, AFL-CIO, hereby move for a temporary restraining order, to

remain in effect until such time as the Court can further consider the merits of

Plaintiffs’ claims, enjoining Defendants Secretary of the Treasury Scott Bessent, the

Department of the Treasury, and the Bureau of the Fiscal Service from disclosing

information about individuals to individuals affiliated with the so-called Department

of Government Efficiency (DOGE), and enjoining Defendants to retrieve and

safeguard any such information that has already been obtained by DOGE or

individuals associated with it.

      As set forth in more detail in the accompanying memorandum, Defendants

have unlawfully implemented and are unlawfully maintaining a system that enables

records and information about individuals to be accessed and disclosed to
        Case 1:25-cv-00313-CKK     Document 8      Filed 02/05/25    Page 2 of 2




unauthorized parties in violation of the Privacy Act of 1974 and the Internal Revenue

Code. Defendants’ actions should be enjoined under the Administrative Procedure

Act because it is in excess of Defendants’ statutory authority and is arbitrary and

capricious. Plaintiffs will suffer imminent and irreparable injury should unlawful

access be permitted to continue.

       Pursuant to Local Civil Rule 65.1(a), at approximately 8:30 a.m. on February

5, 2025, counsel for Plaintiffs emailed the three Assistant Directors for the Federal

Programs Branch of the Department of Justice and the Chief of the Civil Division of

the U.S. Attorney’s Office in D.C. to provide them with electronic copies of the

complaint,    motion for a    temporary    restraining   order,     and accompanying

memorandum, declarations, and proposed order via e-mail before completing this

electronic filing.




Dated: February 5, 2025                       Respectfully submitted,

                                              /s/ Nandan M. Joshi
                                              Nandan M. Joshi (DC Bar No. 456750)
                                              Nicolas Sansone (DC Bar No. 1686810)
                                              Allison M. Zieve (DC Bar No. 424786)
                                              Public Citizen Litigation Group
                                              1600 20th Street NW
                                              Washington, DC 20009
                                              (202) 588-1000

                                              Norman L. Eisen (DC Bar No. 435051)
                                              State Democracy Defenders Fund
                                              600 Pennsylvania Avenue SE
                                              #15180
                                              Washington, DC 20003



                                          2
